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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

                                               *
IN RE: OIL SPILL by the OIL RIG                *      MDL NO. 2179 “J”(1)
       “DEEPWATER HORIZON” in                  *
       the GULF OF MEXICO, on                  *      JUDGE BARBIER
       APRIL 20, 2010                          *
                                               *      MAGISTRATE SHUSHAN
                                               *
THIS DOCUMENT APPLIES TO:                      *      JURY TRIAL DEMANDED
Case No. 12-311                                *
                                               *

                                           ORDER

               Considering the foregoing Unopposed Motion for One-Day Extension of Time to

File Reply in Support of Motion for Judgment on the Pleadings Pursuant to F.R.C.P. 12(c);

               IT IS ORDERED that Defendant Liberty Insurance Underwriters, Inc. be and is

hereby granted an extension of time until June 29, 2012 to file its Reply in Support of Motion for

Judgment on the Pleadings Pursuant to F.R.C.P. 12(c).

               New Orleans, Louisiana, this _____ day of June, 2012.


                                                            __________________________
                                                            JUDGE




                                                                                            768161
